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                              Attorneys for Defendant
                       7      LOOMIS ARMORED US, LLC
                       8
                                                                  UNITED STATES DISTRICT COURT
                       9
                                                                      DISTRICT OF NEVADA
                    10

                    11
                              JESSICA CLARKE, an individual,                           Case No. 2:21-cv-01162-RFB-VCF
                    12
                                                     Plaintiff,                        STIPULATION AND ORDER TO
                    13                                                                 DISMISS ENTIRE ACTION WITH
                                      v.                                               PREJUDICE
                    14
                              LOOMIS ARMORED US, LLC, a Foreign
                    15        Limited-Liability Company,

                    16                               Defendant.

                    17

                    18                Plaintiff JESSICA CLARKE (“Plaintiff”) and Defendant LOOMIS ARMORED US, LLC

                    19        (“Loomis”) (collectively, the “Parties”), by and through their respective counsel of record, hereby

                    20        stipulate and respectfully request an order dismissing the entire action with prejudice.

                    21                The Parties agree that no party to this stipulation shall be deemed to be a prevailing party in this

                    22        action, and that no party will file for an award of attorneys’ fees or costs pursuant to any rule, statute,

                    23        or law, whether local, state, or federal, in any forum that would be available for the claims dismissed

                    24        by this stipulation.

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                                   Case 2:21-cv-01162-RFB-VCF Document 25 Filed 03/07/22 Page 2 of 2



                        1              Each party shall bear its own costs and fees for the claims dismissed by this Stipulation and
                        2     Order.
                        3
                               DATED this 4th day of March, 2022.                  DATED this 4th day of March, 2022.
                        4

                        5      LAGOMARSINO LAW                                     LITTLER MENDELSON P.C.

                        6      _/s/ Andre Lagomarsino_____________                 _/s/ Emil S. Kim_____________________
                               ANDRE M. LAGOMARSINO, ESQ. (#6711)                  WENDY M. KRINCEK, ESQ. (#6417)
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                      10       Attorneys for Plaintiff Jessica Clarke              Attorneys for Defendant Loomis Armored
                                                                                   US, LLC
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                              IT IS SO ORDERED.
                      16
                                       DATED this ___
                                                  7th day ____________,
                                                           March        2022
                      17
                                                                                __________________________________________
                      18
                                                                                UNITED STATES DISTRICT COURT JUDGE
                      19

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                      21      4893-1464-4241.1 / 028378-1260


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